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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

KIMBERLY BADY AND JASON    §
D. ARCHER - TRUSTEE,       §
      Plaintiffs,          §
                           §
                             CIVIL ACTION NO. 4:17-cv-3494
v.                         §
                           §
JPMORGAN CHASE BANK, N.A., §
     Defendant.            §


DEFENDANT JPMORGAN CHASE BANK, N.A.’S MOTION TO DISMISS
      PLAINTIFFS’ COMPLAINT AND BRIEF IN SUPPORT


       Defendant JPMorgan Chase Bank, N.A. (JPMC) files its Motion to Dismiss

Plaintiffs’ Complaint and Brief in Support, and shows as follows:

                                 I.
                 NATURE AND STAGE OF THE PROCEEDING
       This is the second suit filed by Plaintiffs Kimberly Bady and Jason D.

Archer, Trustee to delay foreclosure of certain real property. In February 2017,

Plaintiffs filed a suit with strikingly similar allegations which was removed to this

court and assigned no. H-17-1019 (the Prior Suit). Following an initial conference,

Plaintiffs were permitted to amend and filed an amended complaint on July 14,

2017, again asserting claims similar to those asserted here. On September 8, 2017,




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Judge Rosenthal granted JPMC’s motion to dismiss the amended complaint and

entered final judgment dismissing the Prior Suit with prejudice.

         Just sixty days later, Plaintiffs filed the present suit, asserting claims similar

to those asserted in the Prior Suit. Doc. 1-1, p. 9. JPMC timely removed. Doc. 1.

         Plaintiff Kimberly Bady is the borrower under the subject loan and the

former owner of the Property. Doc. 1-1, p. 10-11, ¶7, ¶11. Bady alleges in October

2016 she requested and was approved for a loan modification. Id. at ¶9. Despite

the modification, she again had financial difficulties in January 2017 and alleged

she again contacted JPMC regarding a loan modification agreement. Id. Bady

alleges that she was “guaranteed that they would be successful in accomplishing

her loan modification and assured her that they would take no action to foreclose

on her loan.” Id. Bady claims that she submitted a complete loan modification

application on January 17, 2017. Id. Bady alleges she sold the Property to

Saddlebrook Village Trust, Jason D. Archer Trustee in January 2017. Id. at ¶10;

Exhibit B. Despite the intervening lawsuit (which Plaintiffs fail to mention), Bady

claims she was surprised when she received a notice filed August 25, 2017

indicating that the Property would be foreclosed November 7, 2017. Id, p. 11 ¶10,

p. 22

         Plaintiffs assert claims for breach of contract, fraud, promissory estoppel,

attempted wrongful foreclosure and violation of RESPA. Doc. 1-1, p. 12-15.


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Plaintiffs’ claims are based upon the contention that a JPMC representative

represented to Bady that no action would be taken to foreclose while negotiations

regarding the second modification of the loan were ongoing. Plaintiffs assert no

viable cause of action or cognizable claim by which they may be entitled to relief.

Plaintiffs’ claims are all barred by the res judicata and the statute of frauds, among

other things. Consequently, Plaintiffs’ Complaint should be dismissed in its

entirety under Federal Rules of Civil Procedure 8 and 12(b)(6).

                                    II.
                         ARGUMENT AND AUTHORITIES

A.     Standard for dismissal under Rule 12(b)(6).

       To survive a motion to dismiss based on Rule 12(b)(6), a plaintiff must

plead sufficient facts to state “a legally cognizable claim that is plausible.” Lone

Star Fund V (U.S.), L.P. v. Barclay’s Bank PLC, 594 F.3d 383, 387 (5th Cir.

2010). The pleading standard set forth by the United States Supreme Court does

not “require ‘detailed factual allegations,’ but it demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation. A pleading that offers ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not

do.’ Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of

‘further factual enhancement.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)) (internal citations

omitted). While a court must accept all of the plaintiff’s allegations as true, it is not

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bound to accept as true “a legal conclusion couched as a factual allegation.”

Twombly, 550 U.S. at 555.

B.     Request for judicial notice.

       “When reviewing a motion to dismiss, a district court ‘must consider the

complaint in its entirety, as well as other sources courts ordinarily examine when

ruling on Rule 12(b)(6) motions to dismiss, in particular, documents incorporated

into the complaint by reference, and matters of which a court may take judicial

notice.’” Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011). “A judicially

noticed fact must be one not subject to reasonable dispute in that it is either (1)

generally known within the territorial jurisdiction of the trial court or (2) capable of

accurate and ready determination by resort to sources whose accuracy cannot

reasonably be questioned.” Id.; see e.g., Maldonado v. Citimortgage, Inc., CV H-

15-120, 2016 WL 6909294, at *3 n.7 (S.D. Tex. Mar. 16, 2016) (taking judicial

notice of real property records in motion to dismiss context).

       JPMC requests the Court to take judicial notice of the following documents

that are available in the public record:

              Exhibit A: Certified copy of the October 30, 2008 Deed of Trust
                         executed by Kimberly Bady encumbering the Property;

              Exhibit B: Certified copy of the January 19, 2017 Special Warranty
                         Deed conveying the Property from Bady to Saddlebrook
                         Village Trust;

              Exhibit C: Original Petition filed by Plaintiffs in the Prior Suit;

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              Exhibit D: First Amended Petition filed by Plaintiffs in the Prior
                         Suit;

              Exhibit E      ECF entry in Prior Suit memorializing granting of motion
                             to dismiss;

              Exhibit F:     Final Judgment entered in Prior Suit.

C.     Plaintiffs’ claims are barred by res judicata.

       The doctrine of res judicata “relieve[s] parties of the cost and vexation of

multiple lawsuits, conserve judicial resources, and, by preventing inconsistent

decisions, encourage reliance on adjudication.” United States v. Davenport, 484

F.3d 321, 325-26 (5th Cir. 2007). “Under res judicata, a final judgment on the

merits of an action precludes the parties or their privies from relitigating issues that

were or could have been raised in that action.” Houston Prof'l Towing Ass'n v. City

of Houston, 812 F.3d 443, 447 (5th Cir. 2016). “The test for res judicata [under

federal law] has four elements: (1) the parties are identical or in privity; (2) the

judgment in the prior action was rendered by a court of competent jurisdiction;

(3) the prior action was concluded by a final judgment on the merits; and (4) the

same claim or cause of action was involved in both actions.” Test Masters

Educational Services, Inc. v. Singh, 428 F.3d 559, 571 (5th Cir. 2005). “Under the

transactional test, a prior judgment’s preclusive effect extends to all rights of the

plaintiff with respect to all or any part of the transaction, or series of connected

transactions, out of which the original action arose.” Id.



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       Plaintiffs’ claims are based on alleged oral statements allegedly made and

modification applications allegedly submitted in January 2017. Under the

transactional test, Plaintiffs are precluded from asserting any claims relating to

those transactions. For example, if Plaintiffs were unable to establish a claim for

dual tracking in the Prior Suit, as evidenced by the fact that the dual tracking claim

was dismissed with prejudice, Plaintiffs cannot rely on a loan modification

application allegedly submitted prior to the filing of the Amended Complaint in the

Prior Suit to support a dual tracking claim here. Similarly, no other causes of

action can be premised on the conduct that allegedly occurred in January 2017.

       In addition, prior to the previously scheduled foreclosure, notice of intent

and notice of acceleration were required to have been given. Those notices would

still be effective for the November foreclosure. As a result, because the foreclosure

was the subject of the Prior Suit, all claims relating to the foreclosure, including

claims based on a lack of the notice of default and notice of acceleration are barred

in this suit. Accordingly, all claims asserted by Plaintiffs are barred by res judicata.

D.     Plaintiffs’ claims are barred by the statute of frauds.

       Plaintiffs’ claims for breach of contract, fraud and promissory estoppel are

all premised on an alleged oral promise to delay foreclosure and modify Bady’s

loan. The loan had an original principal balance of $133,394. Doc. 1-1, p. 10 ¶7.

In Texas, a loan agreement for more than $50,000 is not enforceable unless it is in


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writing and signed by the party to be bound. TEX. BUS. & COM. CODE § 26.02(b).

Similarly, any agreement modifying such a loan is subject to the same statute of

frauds. Martins v. BAC Home Loans Servicing, L.P., 722 F.3d 249, 256 (5th Cir.

2013). “An agreement regarding the transfer of the property or modification of a

loan must therefore be in writing to be valid.” Id. Likewise, “[a]n agreement to

delay foreclosure is subject to the Texas statute of frauds, and, accordingly, must

be in writing to be enforceable.” Milton v. U.S. Bank Nat. Ass'n, 508 F. Appx.x

326, 328–29 (5th Cir. 2013); see also Williams v. Wells Fargo Bank, N.A., 560

Fed. Appx. 233, 241 (5th Cir. 2014); Hua v. Wells Fargo Bank, N.A., No. H-14-

2427, 2014 WL 5877909 (S.D. Tex. Nov. 11, 2014) (dismissing breach of contract,

fraud and promissory estoppel claims asserted by Plaintiffs’ counsel).

       The application of the statute of frauds is not limited to breach of contract

claims and instead will also bar fraud and promissory estoppel claims under the

allegations asserted by Plaintiffs. “Where a contract claim (as here) is barred by the

statute of frauds, an alternative claim of promissory estoppel requires the plaintiff

to show not only that the defendant made a promise upon which he relied, but also

that the defendant promised to sign a written document complying with the statute

of frauds.” Guajardo v. JP Morgan Chase Bank, N.A., 605 Fed. Appx. 240, 248-49

(5th Cir. 2015). Thus, in order for a claim for promissory estoppel to avoid the

impact of the statute of frauds, “there must have been a promise to sign a written


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contract which had been prepared and which would satisfy the requirements of the

statute of frauds.” Martins, 722 F.3d at 256–57 (5th Cir. 2013). This requires a

separate promise from the original promise to postpone the foreclosure. Id. In

addition, tort claims like fraud cannot be used to circumvent the statute of frauds.

“When tort claims have their nucleus in an alleged oral contract which is

unenforceable under the statute of frauds, the statute of frauds bars the tort claims

as well.” Foster v. Bank One Texas NA, 54 Fed. Appx. 592, *3 (5th Cir. 2002)

(quoting Maginn v. Norwest Mortg. Inc., 919 S.W.2d 164, 169 (Tex. App.—Austin

1996, no writ); see also Hua, 2014 WL 5877909 at *2 (dismissing fraud claim

based on unenforceable promise to delay foreclosure).

       Here, Plaintiffs’ claims for breach of contract, fraud and promissory estoppel

are premised on an alleged oral promise to delay foreclosure or modify the loan.

Plaintiffs do not allege that JPMC signed a written agreement to postpone

foreclosure or modify the loan. In addition, Plaintiffs do not alleged that JPMC

promised to sign a presently prepared document agreeing to delay foreclosure or

modify the loan comporting with the statute of frauds. As a result, all of Plaintiffs’

claims premised on an alleged oral promises, including their claims for breach of

contract, fraud and promissory estoppel, are barred by the statute of frauds.




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E.     Even if the statute of frauds did not apply, Plaintiffs’ breach of contract
       claim fails as a matter of law.
       Under Texas law, a plaintiff alleging a breach of contract must show (1) the

existence of a valid contract; (2) performance or tendered performance by the

plaintiff; (3) breach of the contract by the defendant; and (4) damages to the

plaintiff resulting from that breach.” Villarreal v. Wells Fargo Bank, N.A., 814

F.3d 763, 767 (5th Cir. Feb. 26, 2016). “A plaintiff must allege her own

performance, because ‘a party to a contract who is [herself] in default cannot

maintain a suit for its breach.’” Id.

       Here, there is no allegation that Bady herself was not in breach of the loan

agreements. Instead, the allegations are that she sustained financial difficulties and

could no longer afford the loan. Under similar circumstances, the Fifth Circuit has

affirmed dismissal of breach of contract claims. Villarreal, 814 F.3d at 767

(affirming dismissal of breach of contract claim where borrower under loan was

herself in default of the loan because she failed to make all payments as they

became due). In addition, under the terms of the Deed of Trust, Bady is in default

upon her sale of the property to a third party. Ex. A, ¶ 9. Bady admits selling the

property to a third party in January. Doc. 1-1, p. 11 ¶11, Ex. B. That breach

separate and apart from the payment default would also undermine any possibility

of modifying the loan as Bady no longer owns the Property and therefore cannot

agree to modify the loan encumbering said Property.

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       In addition, there is no allegation that there was a valid, existing contract to

postpone foreclosure. The alleged promise to delay foreclosure was not supported

by separate consideration. As pleaded, there also is no allegation of breach by

JPMC or damages sustained by Plaintiffs. The alleged promise was that JPMC

would not foreclose. Because JPMC has not foreclosed, there is no breach of that

alleged promise. Moreover, because no foreclosure has occurred, Plaintiffs have

not sustained damages as a result of the alleged breach. For all of these reasons,

and because of the application of the statute of frauds as discussed above,

Plaintiffs’ breach of contract claim should be dismissed with prejudice.

F.     Even if the statute of frauds did not apply, Plaintiffs fail to state a viable
       fraud claim.
       The elements of common-law fraud are (1) the defendant made a material

representation to the plaintiff; (2) the representation was false; (3) the defendant

knew the representation was false or made the misrepresentation recklessly,

without knowledge of the truth; (4) the defendant intended for the plaintiff to act

on the misrepresentation; (5) the plaintiff acted on the misrepresentation; and (6)

the plaintiff incurred damages. In re First Merit Bank, N.A., 52 S.W.3d 749, 758

(Tex. 2001). If the representation pertains to future performance, the plaintiff must

also establish that the promise was made with no intention of performing at the

time it was made.          Formosa Plastics Corp. USA v. Presidio Engineers &

Contractors, Inc., 960 S.W.2d 41, 48 (Tex. 1998).

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       A common law fraud claim must satisfy a heightened pleading standard,

which Plaintiffs’ Complaint utterly fails to meet. See FED. R. CIV. P. 9 (b);

Benchmark Elecs., Inc. v. J.W. Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003);

Williams v. WMX Techs., Inc., 112 F.3d 175, 177 (5th Cir. 1997). To sufficiently

plead a fraud claim, Plaintiffs must specify the time, place, and content of the

misrepresentation, as well as the identity of the speaker and what benefit the

speaker gained from the misrepresentation. Williams, 112 F.3d at 177-78.

       Here, Plaintiffs do not identify a single misrepresentation they allege JPMC

made with the specificity demanded by Rule 9(b). Instead, Plaintiffs generally

allege that Sharon Schwartz, allegedly a representative of JPMC “guaranteed here

that they would be successful at accomplishing her loan modification and assured

her that they would take no further action to foreclose on her home.” Doc. 1-1, p.

11 ¶9. While Plaintiffs identify the speaker, they fail to explain when this

representation was made and what benefit JPMC gained by telling Plaintiffs that

the foreclosure would be postponed. In addition, there are no factual allegations to

support the boilerplate allegations that the representation was false when made or

that JPMC intended not to perform when the alleged representation was made.

       Likewise, Plaintiffs’ Complaint is devoid of any fact that would show

Plaintiffs relied on any false representation. The bare assertion that “Bady relied on

these representations” is insufficient. Iqbal, 556 U.S. at 678. Plaintiffs do not


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allege that Bady could have brought the loan current to prevent the foreclosure.

Indeed, the fact that Bady conveyed the Property to Saddlebrook Village Trust, via

a Special Warranty Deed executed January 19, 2017 establishes that she did not

rely on any alleged representations. Plaintiffs cannot allege or show reliance.

Moreover, because the foreclosure sale did not occur, Plaintiffs cannot allege that

they sustained damage as a result of the alleged fraud.

       Plaintiffs fail to allege facts satisfying the basic elements of a fraud claim,

let alone the requirements of Rule 9(b). Plaintiff’s fraud claim should be dismissed.

G.     Even if the statute of frauds did not apply, Plaintiffs fail to state a viable
       promissory estoppel claim.
       A cause of action for promissory estoppel requires: (1) a promise by the

defendant; (2) foreseeable and actual reliance on the promise by the plaintiff to her

detriment; and (3) that enforcement of the promise be necessary to avoid an

injustice. Guajardo v. JP Morgan Chase Bank, N.A., 605 Fed. Appx. 240, 248 (5th

Cir. 2015). “To support a finding of promissory estoppel, the asserted promise

must be sufficiently specific and definite that it would be reasonable and justified

for the promisee to rely upon it as a commitment to future action.” Id.

       Likewise, Plaintiffs’ Complaint is devoid of any fact that would show they

relied on any alleged promise to her detriment. The bare assertion that “Bady

reasonably and substantially relied on the promise to her detriment” is insufficient.

Iqbal, 556 U.S. at 678. Plaintiffs do not allege that Bady could have brought the

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loan current to prevent the foreclosure. Even if this vague statement occurred,

Plaintiffs cannot allege or show reliance. Indeed, the fact that Bady conveyed the

Property to Saddlebrook Village Trust, via a Special Warranty Deed executed

January 19, 2017 establishes that she did not rely on any alleged representations.

In addition, Plaintiffs filed a prior lawsuit in February 2017 precisely because they

were not relying on any alleged representation by JPMC. That negates any reliance

that could possibly have been placed on the earlier alleged statement. Accordingly,

Plaintiffs have not stated a claim for promissory estoppel.

H.     Plaintiffs fail to state a claim based on allegedly missing notices.
       Plaintiffs assert that JPMC is violating the Texas Property Code because

Bady never “received” notice of default and notice of acceleration prior to

foreclosure. Doc. 1-1, p. 11, ¶12, p. 13, ¶20-21. Plaintiffs cannot state a claim

premised on these allegations. Texas does not recognize a private cause of action

for violation of the Texas Property Code. Reed v. Bank of Am., N.A., CV H-15-

2005, 2015 WL 7736642, at *4 (S.D. Tex. Nov. 30, 2015). Instead, a borrower’s

remedy is to assert a claim for wrongful foreclosure. Green v. Wells Fargo Home

Mortgage, CV G-15-241, 2016 WL 3746276, at *2 (S.D. Tex. June 7, 2016),

report and recommendation adopted sub nom. Green v. Mortgage, 3:15-CV-241,

2016 WL 3748505 (S.D. Tex. July 6, 2016). Here, there cannot be any valid claim

for wrongful foreclosure because no foreclosure has occurred and Texas does not


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recognize a cause of action for attempted wrongful foreclosure. Maldonado v.

Wells Fargo Bank, N.A., CV H-16-3574, 2017 WL 4950063, at *4 (S.D. Tex. Nov.

1, 2017); Tauriac v. Wells Fargo Bank, N.A., CV H-14-361, 2015 WL 12778643,

at *3 (S.D. Tex. May 7, 2015) (Hittner, J.). Accordingly, Plaintiffs’ claims

premised on Bady’s alleged failure to receive notice of default or notice of

acceleration fail to support any valid claim under Texas law.

I.     Plaintiffs fail to state a claim for dual tracking.
       Plaintiff asserts a claim based on JPMC’s alleged “dual tracking” of her loss

mitigation application and foreclosure. Doc. 1-1, p. 14-15. As discussed above,

because this claim is premised on a loan modification application allegedly

submitted in January 2017, these claims are barred by res judicata.

       Even if not barred by res judicata, Plaintiffs fail to state a claim. Under

Regulation X, a loan servicer is prohibited from making the first notice of filing

required by applicable law for any judicial or non-judicial foreclosure if a borrower

submits a complete loss mitigation application before the servicer has made the

first notice or filing. 12 C.F.R. § 1024.41(f). The ensuing subsection qualifies that

“[a] servicer is only required to comply with the requirements of this section for a

single completed loss mitigation application for a borrower’s mortgage loan

account.” Id. § 1024.41(i). Bady alleges that she applied for and was approved for

a loan modification in October 2016. Doc. 1-1, p. 10 ¶9. Based on these


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allegations, Bady already had one loss mitigation review and the regulations

relating to dual tracking accordingly did not apply to the application allegedly

submitted in January 2017. Therefore, Bady cannot state a claim for dual tracking.

       Moreover, even if the regulations applied to the January 2017 application, to

recover on a claim for dual tracking, a plaintiff must establish she has sustained

actual damages as a result of the alleged dual tracking. Obazee v. Bank of N.Y.

Mellon, No. 3:15–CV–1082–D, 2015 WL 4602971, at *4 (N.D. Tex. July 31,

2015); 12 C.F.R. §1024.41(a); 12 U.S.C, §2605(f).           Here, Plaintiffs have not

alleged how the alleged dual tracking violation caused them actual damages. It is

difficult to see how damages could have been caused where Bady, the borrower, no

longer owned the property and the foreclosure sale did not occur. As a result,

Plaintiffs have failed to state a claim premised on the alleged dual tracking.

J.     Plaintiff is not entitled to injunctive relief.
       Under Texas law a request for injunctive relief absent a cause of action

supporting entry of a judgment is defective and does not state a claim. See Butnaru

v. Ford Motor Co., 84 S.W.3d 198, 210 (Tex. 2002). Because Plaintiffs fail to state

any plausible claim upon which relief may be granted, dismissal is also proper on

Plaintiffs’ request for injunctive relief. See Bauer v. Texas, 341 F.3d 352, 358 (5th

Cir. 2003). Accordingly, Plaintiffs are not entitled to injunctive relief.




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                                          IV.
                                      CONCLUSION
       Defendant prays that the Court dismiss all causes of action asserted against it

as Plaintiffs do not state a single cause of action upon which relief may be granted.

                                            Respectfully submitted,

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                             CERTIFICATE OF SERVICE
       This is to certify that on November 20, 2017 a true and correct copy of the
foregoing pleading has been furnished to Plaintiffs’ counsel via ECF in accordance
with the Federal Rules of Civil Procedure.

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